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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

        v.                                           Case No. 21-CR-40-4 (TNM)

 CHRISTOPHER JOSEPH QUAGLIN,

             Defendant.


                     GOVERNMENT’S SENTENCING MEMORANDUM

        As this Court knows from presiding over a stipulated trial in this case and from presiding

over dozens of other January 6 cases, defendant Christopher Joseph Quaglin was among the most

violent of the January 6 rioters. He viciously assaulted numerous officers, and this Court convicted

him of six counts of assault, two counts of robbery, obstruction of the Congressional certification

vote, and other offenses. For the reasons set forth herein, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, recommends that this

Court sentence Quaglin to 168 months of incarceration, the bottom end of the range calculated by

the government, three years of supervised release, $2,000 in restitution, an $82,000 fine, and a

mandatory $1,220 special assessment. This sentence is warranted because the stipulated evidence

proved that Quaglin engaged in numerous assaults and other aggressive acts against police and

property.

   I.         INTRODUCTION

        For over three hours, Christopher Quaglin participated in a violent assault on the United

States Capitol, which forced an interruption of the certification of the 2020 Electoral College vote

count, threatened the peaceful transfer of power after the 2020 Presidential election, injured more


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than one hundred police officers, and resulted in more than 2.9 million dollars in losses. 1

       Quaglin understood the constitutional significance of January 6, and intended to disrupt

Congress’ certification of the 2020 election by any means necessary, including by viciously

assaulting police officers for hours. Quaglin started planning this violence well before January 6.

In the months before, he took to social media and repeatedly called for “Civil War”; meticulously

planned the weapons and protective gear that he would bring; invited others and encouraged people

to attend by booking blocks of hotel rooms; boasted on social media that the armed patriots would

storm the Capitol; and made countless social media posts about his intent of stopping the

certification to ensure the former president would remain in power.

       On the 6th, Quaglin attended some of the “Stop the Steal” rally but left early for his

intended objective: storming the Capitol. Quaglin was with the first group of rioters that stormed

the barricades near Peace Circle. Once the mob overran several lines of bike racks and police

officers and flooded the West Plaza, Quaglin marched up and down the police line and assaulted

police officers for nearly an hour-and-a-half. On at least a dozen occasions, Quaglin stood face-

to-face with officers as he screamed, pushed with outstretched arms, punched, swatted, and slapped

officers; pushed bike racks into officers; and even choked one officer to the ground. Quaglin tore

down permanent barriers on the West Front during his tirade. And not long after Quaglin aided



1
  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.

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other rioters in wrestling away a bike rack from the police line, the mob finally overwhelmed the

officers, who called a general retreat. As officers tried to escape the area, Quaglin followed,

continuing his attack. Quaglin followed the officers to the Lower West Terrace tunnel and used

his body as a battering ram and employed a stolen police riot shield against the officers in attempt

to force his way into the building. He also joined another rioter in disarming a police officer of his

shield and passing it back to other rioters. He sprayed several officers directly in the face with

chemical irritant. And he joined the collective mob pushes against the police line. In total, Quaglin

was on Capitol grounds – wreaking havoc – for more than three hours.

       Since January 6, Quaglin has expressed no remorse for his crimes. Instead, he has sought

attention and disclaimed any responsibility for his role in the riot. Even after his convictions,

Quaglin has repeatedly joined public shows and podcasts to boast about his involvement in the

Capitol riot, to blame others for the resulting harms of the day, to spread misinformation claiming

that January 6 was a “set up,” to declare himself a political prisoner, and to denounce his guilt.

       For his actions, Quaglin was convicted of twelve felonies—including three counts of

assault using a deadly or dangerous weapon, three counts of assault, two counts of robbery, civil

disorder, obstruction of an official proceeding, engaging in physical violence with a dangerous

weapon, and disorderly and disruptive conduct with a dangerous weapon—and two misdemeanors.

Due to his egregious criminal conduct on January 6, his refusal to accept responsibility, and the

need to deter him and others from further wrongdoing, the government recommends that the Court

sentence Quaglin to 168 months of incarceration, at the bottom end of the advisory Guidelines’

range of 168-210 months, which the government submits is the correct Guidelines calculation.




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    II.        FACTUAL BACKGROUND

          A.     The January 6, 2021 Attack on the Capitol

          The government refers the court to the stipulated Statement of Offense filed in this case,

ECF No. 674, for a short summary of the January 6, 2021 attack on the United States Capitol by

hundreds of rioters, in an effort to disrupt the peaceful transfer of power after the November 3,

2020 presidential election.

          B.     Christopher Quaglin’s Role in the January 6, 2021 Attack on the Capitol

                                       Pre-January 6 Conduct

          Following the 2020 presidential election, Quaglin regularly discussed his belief that the

election was fraught with fraud and that the election was “stolen.” See, e.g., Ex. 2 1 at 2 (“they stole

like 4 states”); id. at 4 (“And its obvious they cheated”); id. at 7, 9, 13, 36 (“They literally rigged

an election.”). As such, Quaglin planned to travel to Washington, D.C. for January 6, a date when

he understood “the House and Senate will come into a joint session to open the votes” and when

he believed “Vice President Mike Pence will have all the authority as president of the Senate for

that day and will accept or reject motions to decide the next steps by the assembly.” Id. at 27 (also

discussing the votes, objections, and exposing fraud on January 6 during the joint session).

          Quaglin posted on social media that he was going to “fight back” against the “voter fraud,”

id. at 5, and he discussed the “fighting” in terms of war. He posted on social media, for example,

in relation to January 6, that he was “going to war” and warned that he “might not even make it




2
  References to Exhibits (“Ex.”) in this Memorandum refer to the Government’s Exhibit List in
Support of Sentencing Memorandum, which will be provided to the Court along with the
exhibits referenced herein.
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back.” Id. at 6, 10, 15 (referencing a “civil WAR”). Quaglin planned to wear “[f]ull body armor,” 3

id. at 10, 114, and bring “gas masks, body armor, and other things,” id. at 73, including “a full

medical kit,” id. at 131; id. at 120 (gas masks); id. at 132 (“I will have body armor. And the knife

size limit is 3”. Fyi”); see Ex. 5 (box for gas mask).




  Images 1-2: Photograph of gas mask, left, that Quaglin posted on social media in reference to
 bringing to D.C.; and photograph, right, showing a picture Quaglin referenced on social media,
following a message to another Facebook user where Quaglin encouraged the person to travel to
                                Washington, D.C. for January 6

       Quaglin warned that the “militia” would have to appear in “FULL FUCKING GEAR” with

full body armor, and he anticipated that the group would be “hit with pepper spray and beer [sic]

spray.” Id. at 114; id. at 132 (“Ill have bear spray (The gel stuff that shoots 30 feet) and the big

can”); id. at 90-91 (Quaglin warning others to buy a gas mask with a filter “good for pepper

spray.”). And when another social media user asked Quaglin if he thought the situation would turn

into a civil war, Quaglin replied, “I’m bringing my guns.” Id. at 114; see also id. at 125 (“Be a


3
  During his planning for January 6, Quaglin maintained that he planned to wear body armor in
Washington, D.C. Although he wore an over-sized sweatshirt as his outer layer on January 6 and
thus no body armor is visible, in numerous videos and photographs from that day, Quaglin appears
to have been wearing something under his sweatshirt that was rigid. See Ex. 62.
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patriot. I’m going armed.”); id. at 132 (“Body armor immediately increases any charge to a felony

fyi. And if you get caught with a firearm you’re fucked”); id. at 133 (discussing bringing bear

spray, knives, and firearms); id. at 90-91 (Quaglin warning others to buy a gas mask with a filter

“good for pepper spray.”). Quaglin said that he had been “planning for this since fucking Bush left

office and obama came in,” and sent a photo of his “gun wall,” 4 with the following message that

said, “Who wants to go to dc? I have an extra double twin bed available”:




      Image 3: Photograph Quaglin shared on social media following his messages regarding
                                    planning for January 6

          Quaglin repeatedly told others that he purchased “3 cans of bear spray – huge cans And

[g]as masks” for January 6. Id. at 100; id. at 112; id. at 102 (“I got something for their ass. Get

some bear sprey [sic]. 3 bottles”); id. at 110 (offering to secure big cans of bear spray for another

person traveling to Washington, D.C.). Quaglin prepared for what he expected to be a violent day.


4
    On the day that Quaglin was arrested, all of the items hanging on this wall had been removed.
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He explained in messages that his “wife was crying” about him going to D.C., id. at 105, but

Quaglin nevertheless believed the trip to be worthy, because it was “the beginning of a revolution,”

id. at 132.

        As Quaglin continued to discuss his plans for traveling to Washington, D.C., he stated that

he was going to be “front fucking line” in the “war I’ll be fighting” – “FUCKING WAR.” Id. at

17, 18 (“Looking forward to a war”); id. at 73 (“This is going to spark a war”). And the target

remained clear: Quaglin encouraged others on social media to “pick up arms and storm the capital,”

id. at 33, and he repeatedly referred to January 6 as “1776 2.0,” id. at 39-40, 70 (“Its popping.off.

its gonna be 1776”), id. at 72, id. at 83 (“there are gonna be 1000 militia in ar15 marching in the

streets”), id. at 89, id. at 115 (“Is gonna be over 1000 militia there armed with AR15”). Quaglin

stated that “war is coming” because it’s “[t]ime for the government to understand who the fuck

they work for.” Id. at 92, 116 (“lets please PLEASE celebrate Christmas and new years before we

have a Civil War.”)

        In addition to encouraging others to attend, storm the Capitol, and bring weapons, Quaglin

attempted to facilitate travel plans for others, offering various people a spare hotel bed, id. at 61,

and booking a block of rooms for others, id. at 67-68, 75-76, 88, 96, 137, 138. Quaglin also offered

body armor and gas masks for those who traveled to the Capitol. Id. at 74.

                           Quaglin’s Participation in the Capitol Riot

        On January 6, after leaving the “Stop the Steal” rally early, Quaglin marched towards the

Capitol building and posted to social media a video of himself saying, “Trump is speakin’ and

everyone’s walking there. I’m walking here.” Quaglin turned the camera to his gas mask and said,

“I AM READY! We will see how it goes. PROUD OF YOUR BOY!” Ex. 11 at :00-:33.


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Images 4-6: Screenshots of video footage recorded by Quaglin showing his march to the Capitol
                 in gear, including a gas mask and helmet (Ex. 11 at :00-:33)

       Quaglin arrived fully equipped. He wore a black helmet, gas mask, and backpack. He

wore an oversized sweatshirt with something under the sweatshirt that appeared to be rigid.




Image 7: Photograph showing Quaglin (yellow square) marching towards Capitol wearing and
                                   carrying his gear

       Quaglin arrived at the outer perimeter of Capitol grounds before the barriers had been

breached. At approximately 12:45 p.m., as preparations for the Congressional proceedings were

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underway in the House and the Senate, Quaglin and a large crowd gathered to the West of the U.S.

Capitol around Peace Circle. The crowd moved southwest to the threshold of the sidewalk that

connects Peace Circle to the U.S. Capitol Building, commonly referred to as the “Pennsylvania

Avenue Walkway.”

       At about 12:50 p.m., Quaglin and other rioters bypassed the first line of metal barricades

that were erected to keep the public away from the building. The crowd approached a second line

of barricades that were manned by uniformed U.S. Capitol Police (USCP) Officers. The second

line of barricades were constructed of metal bike rack barriers, physically linked end to end, and

reinforced with dark colored plastic mesh safety fencing affixed behind the metal bike racks. The

fence was clearly marked with large, white “AREA CLOSED” sign with bold red lettering. Upon

approaching the barricade manned by USCP Officers, the crowd immediately became

confrontational with the officers. Rioters pushed and pulled on the barricades as the now vastly

outnumbered officers attempted to keep the crowd back. Quaglin watched as rioters plowed

through the bike rack barriers, knocking over police officers, and storming forward.




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   Images 8-9: Screenshot of video recorded by Quaglin and shared on his social media page
     showing the barriers being trampled over, left, and photograph showing Quaglin as he
   approached the Capitol grounds with the first group of rioters and trampled over bike rack
                                   barriers, right (see Ex. 12)

       Quaglin and other rioters surged forward as officers retreated towards the building. As the

rioters moved down the Pennsylvania Avenue Walkway, they approached a third line of barricades

backed by another line of police officers. Quaglin marched directly to the front of the barricades.

Officers directed rioters to stay back but moments later the rioters surged through the metal bike

racks and flooded the Lower West Plaza. Quaglin was at the front of the crowd.




 Images 10-11: Screenshots of third-party footage showing Quaglin (yellow square) at the front
  of the mob, left, pointing towards the Capitol, right, as the mob bypassed the third line of bike
                                       rack barriers (Ex.56)


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       By 12:59 p.m., just after the rioters gained access to the West Front, Quaglin made it to the

front of the crowd. Ex. 14 at 12:59:33 p.m. For the next hour-and-a-half, Quaglin worked his way

through the mob of rioters and repeatedly attacked police officers. E.g., Ex. 14.




Image 12: Screenshot of Capitol Police Surveillance Footage (Ex. 14) showing Quaglin (yellow
 square) at the front of the mob as rioters begin to flood the West Front where he remained for
                                     the next hour-and-a-half

       Almost immediately after gaining access to the West Plaza, Quaglin became aggressive

towards USCP officers. At 12:59:41 p.m., Quaglin stepped forward face-to-face with a police

officer and aggressively pointed and yelled at the officer. Ex. 14 at 12:59:41 p.m.

       Shortly after 1:00 p.m., Quaglin stepped forward and physically pushed into an officer and

continued aggressively pointing and yelling at the officer as Quaglin stood inches away from the

officer’s face. Id. at 1:00:14-1:00:34 p.m. After stepping back to resecure his helmet, Quaglin

yelled at police officers, talked to others in the crowd, emphatically waved his arms, and pointed

at the Capitol building. Then, at about 1:06 p.m., Quaglin emerged from the crowd and charged

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towards the officers. With his arms outstretched, Quaglin forcefully shoved a police officer. Ex.

15 at :08.




 Image 13: Screenshot of Capitol Police Surveillance footage showing Quaglin (yellow square)
           with outstretched arms forcefully shoving a police officer (Ex. 15 at :08)

       A few seconds later, Quaglin reached towards a different police officer and swatted him

several times. Ex. 15 at :08-:26.




  Images 14-15: Screenshots of Capitol Police Surveillance footage showing Quaglin (yellow
square) pushing a police officer, left, and swatting a different police officer, right (Exs. 15, 15.1,
                                               15.2)

       At about 1:06:50 p.m., Quaglin approached another officer and repeatedly poked the officer


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in the chest with his finger and yelled at the officer. Ex. 16 at 1:56. Quaglin aggressively gestured

his arms and pointed at the Capitol building several times.




Images 16-17: Screenshots of Capitol Police Surveillance footage, left, and open-source footage,
        right, showing Quaglin (yellow square) aggressively pointing at a police officer

       Then, as Quaglin walked past the line of officers, he charged forward. He pushed an officer

and swatted at another officer numerous times. Ex. 15 at 2:20.

       Count One (Assault of Unidentified Officers): At about 1:08 p.m., Quaglin pushed into

one officer and forcibly pushed into a second officer several times. Quaglin swatted and appeared

to aggressively yell at the officer until another rioter pulled him back. Ex. 17 at :00-:15; Ex. 14 at

1:08:10 – 1:08:37 p.m.




 Image 18: Screenshot of Capitol Police Surveillance footage showing Quaglin (yellow square)
  pushing a police officer with both hands (Ex. 17 at :10, Ex. 17.1; Ex. 15 at 1:59, 2:20-2:31)
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       Count Two (Assault of Sergeant Troy Robinson) and related conduct:                 Quaglin

maneuvered through the mob of rioters facing the police line. At about 1:11 p.m., Quaglin emerged

from the crowd and again charged towards the police line. Quaglin approached USCP Sergeant

Troy Robinson, who stood inches away from a set of marble stairs, and aggressively pointed his

finger inches away from the officer’s face.




Images 19-20: Screenshots of Capitol Police Surveillance footage, right, and third-party footage,
  left, showing Quaglin (yellow square) pointing at and around a police officer moments before
                                  Quaglin attacked the officer

       Suddenly, Quaglin grabbed Sergeant Robinson by the neck and tackled him to the ground.

See Ex. 15 at 4:57-5:29; Ex. 18 at :00-:30; Ex. 19 at :17-:51. As a result of Quaglin’s attack,

Sergeant Robinson fell backwards onto the staircase, suffering serious bodily injury. 5 Ex. 18.1.




5
  The government intends to submit additional information regarding this serious bodily injury
through Sergeant Robinson’s Victim Impact Statement.
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   Images 21-22: Screenshots of Capitol Police Surveillance footage showing Quaglin (yellow
 square) grabbing, left, and then choking, right, an officer to the ground (Ex 316 at 5:08; Ex. 18
                                              at :12)

       Quaglin’s attack ignited a short brawl. With Quaglin on top of Sergeant Robinson, other

rioters came to Quaglin’s assistance and chaos broke loose. Other rioters attacked officers and

threw objects at the police line. Ex. 14 at 1:11:30-:1:12:00 p.m. After officers pulled Quaglin off

Sergeant Robinson, Quaglin regained his footing, stepped back from the police line, and continued

yelling and waving at the officers.

       Not more than ten seconds later, Quaglin initiated a confrontation with another officer. Ex.

19 at 1:00-1:10; Ex. 14 at 1:12:00-1:12:10 p.m. For the next minute, Quaglin pushed several

officers as they attempted to re-establish their line. Ex. 15 at :40-47.




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       Images 23-25: Screenshots of Capitol Surveillance Footage, top, and third-party footage,
              bottom, showing Quaglin (yellow square) attacking police officers

       At about 1:12 p.m., as one officer bent down to pick an object from the ground, Quaglin

hit the officer directly in the head with an unknown object that appears to be a gas mask. See Ex.

20 at 16:34; Ex. 15 at 5:45-6:01; Ex. 21 at 5:45.




Images 26-27: Screenshots of open-source footage showing an officer bending over to pick up an
       object, left, and Quaglin hitting the officer in the head with the black object, right


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       Count Three (Assault of Deputy Chief Waldo) and related conduct: At about 1:12

p.m., Quaglin approached USCP Deputy Chief Waldo and swatted at him several times. Ex. 15 at

5:55-7:15. After Deputy Chief Waldo attempted to disengage, Quaglin escalated the interaction

and forcefully shoved and hit Deputy Chief Waldo again. Ex. 19 at 1:10-2:20; Ex. 15 at 6:50-7:10.




        Images 28-30: Screenshots of Capitol Surveillance footage and open-source footage
showing Quaglin (yellow square) attacking Deputy Chief Waldo (Ex 316 at 6:23-7:25; Ex. 21 at
                                1:11:50-1:12:55; Ex. 18.2)

       After attacking Deputy Chief Waldo, Quaglin approached another officer and, with

outstretched arms, forcefully pushed that officer. See Ex. 15 at 6:55-7:20.




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        Image 31: Screenshot of Capitol Surveillance footage showing Quaglin (yellow square)
                             pushing an officer (Ex. 15 at 7:00)

       Around this same time, Metropolitan Police Department (MPD) officers had begun

arriving on the West Front to assist the USCP officers. The officers erected a bike rack line on the

West Front and attempted to move the crowd behind the bike racks. Quaglin physically resisted

the officers’ attempts to move him back into the crowd. In doing so, Quaglin reached forward and

struck another officer.

       At about 1:13 p.m., Quaglin forcefully pushed into several other police officers, grabbed

onto one officer’s arm, and hit one officer under his face mask.




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 Images 32-35: Screenshots of body worn camera footage showing, clockwise, Quaglin pushing
into a police officer, grabbing a police officer’s arm, punching a police officer in the area where
      his body worn camera rests, and reaching his hand under a police officer’s face mask
                                (Ex. 22.1; Ex. 15.4; Ex. 22; Ex. 23)

       Police officers attempted to move Quaglin back towards the crowd, but he charged forward

and pushed into at least two more officers.




        Images 36-38: Screenshots of Capitol Surveillance footage showing Quaglin charging
    towards police officers, top left, and pushing into an officer, top right, and a third-party
                              photograph showing the same, bottom

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       Two officers successfully escorted Quaglin back into the crowd behind the bike racks.




        Image 39: Screenshot of Capitol Surveillance footage showing officers escorting
                                     Quaglin into crowd

       Quaglin immediately started to pull on the newly erected bike rack barrier.




Images 40-41: Photographs showing Quaglin (yellow square) with his hands pulling on the bike
                            racks (see also Exs. 25, 25.1, 25.2)

       The officers held onto the bike racks and Quaglin was not immediately successful pulling

the bike rack away from the officers. Quaglin then attacked the officers.




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Images 42-46: Screenshots of body worn camera footage and open-source footage showing
                           Quaglin attacking police officers
                     (Ex. 26.1; Ex. 26.2; Ex. 25.2; Ex. 27, Ex. 28)

    Officers repeatedly yelled at Quaglin and the crowd to “MOVE BACK!” but Quaglin
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ignored their commands. See Ex. 27 at 1:13:50-1:14:30 p.m.; Ex. 25 at 1:13:55-1:14:30 p.m.; Ex.

29 at 1:14:08-1:14:20 p.m.; Ex. 30.1.

       Count Four (Robbery: theft of bike rack) and related conduct: Quaglin momentarily

stepped back from the police line to adjust his helmet, Ex. 31 at :07, a rioter stepped forward and

grabbed a metal bike rack barricade, id. at :07-:26. Quaglin reapproached the police line, swatted

a police officer’s hand, and grabbed that same bike rack. Ex. 31 at :32-:38. An officer sprayed

Quaglin in the face with OC spray, but Quaglin’s gas mask spared any affect. See Ex. 25 at 1:14:06

p.m. Quaglin and the other rioters aggressively yanked the bike rack from the police line,

incidentally pulling the officers into the crowd. Quaglin reached forward with his fingers pointed

at an officer’s eyes, but another officer pushed Quaglin back. The rioters successfully gained

control of the bike rack and passed it back into the crowd, creating a hole in the police line and

providing the crowd another weapon to use against officers. Ex. 27 at 1:14:55-1:15:05 p.m.; Ex.

31 at :26-:57.




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  Images 47-48: Photograph, top, showing Quaglin pulling bike rack from police officers and
   screenshot of body worn camera footage, bottom, showing Quaglin reaching towards an
                     officer’s eyes (Ex. 32; Ex. 33.1; Ex. 30.2; Ex. 30.3)

        Around 1:37 p.m., Quaglin continued yelling menacing and belligerent remarks at the

officers, such as:

        You don’t want this fight. You do not want this fucking fight. You are on the wrong
        fucking side. You’re going to bring a fucking pistol, I’m going to bring a fucking
        cannon. You wait! You wait! You wait! Stay there like a fucking sheep! This guy
        doesn’t know what the fuck is going on!

Ex. 34; Ex. 35; Ex. 21. Quaglin grabbed a metal bike rack and shook it. Ex. 34 at 2:50-3:00.




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    Images 49-50: Screenshots of body worn camera footage showing Quaglin belligerently
                       screaming at police officers (Ex. 34; Ex. 35.1)

       Quaglin remained on the West Front and continued his path of terror. After making his way

back through the mob of rioters, he tore down two separate sections of black permanent fencing

on the West Front.




  Images 51-52: Screenshots of video footage showing Quaglin (yellow square) tearing down
   permanent black fencing on the West Front (Ex. 36 at 6:10; Ex. 37 at 7:20-7:35; Ex. 525)
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       Count Eleven (Assault of Officer Foulds) and related conduct, including Quaglin’s
entry into the Lower West Terrace Tunnel:

        At about 2:34 p.m., Quaglin reapproached the officer line and forcibly pushed into MPD

Officer Henry Foulds, Ex. 38, struck MPD Sergeant Mastony, Ex. 39, and grabbed the face mask

of a third officer, Ex. 40.




   Images 53-56: Screenshots of body worn camera footage showing Quaglin (yellow square)
                                   attacking police officers
              (Exs. 38 at 2:34:00-2:34:43, 38.1; Ex. 40 at 2:33:50-2:34:35 p.m.)

        After attacking the officers, Quaglin grabbed a police riot shield and passed it back into the

crowd. Ex. 41 at 2:34.




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 Image 57: Screenshot of body worn camera footage showing Quaglin (yellow square) stealing
                  police riot shield and passing it to the crowd behind him

       Eventually, after having been flanked and attacked for over an hour-and-a-half, the police

line on the West Front of the Capitol completely broke and rioters surged forward. As officers

retreated towards the Capitol building, they became trapped between the encroaching mob and the

wall behind him. Officers funneled into a narrow staircase built into the inaugural stage as they

tried to escape from the mob. Quaglin closely followed the retreating officers.




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Images 58-59: Photograph showing police officers pressed against a wall (red rectangle) as they
 attempted to retreat from the rioters, top, and showing Quaglin (yellow square) at the front of
    the mob as he fought with police officers trapped between the mob and the wall, bottom

       As the officers waited to ascend the staircase, Quaglin continued attacking them.




  Images 60-63: Screenshots of body worn camera footage showing Quaglin attacking officers
                     (Ex. 57.1; Exs. 39.1, 39.2; Ex. 410 at 12:00-12:30)

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       Quaglin remained at the front of the mob, pushing, yelling at, and taunting police officers

until the last of the officers escaped up the stairs. Exs. 41.3, 43.2; Ex. 44 at 12:00-12:30; Exs.

45.1, 45.2.




Image 64: Photograph showing Quaglin taunting police officers as they escaped up the stairway.

       Amid chaos, Quaglin turned to face the crowd with his arms outstretched, and he reveled

in his success.




 Image 65: Screenshot of open-source footage showing Quaglin (yellow rectangle) celebrating
                                    (Ex 504 at :23-:26)
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       Quaglin ascended to the Lower West Terrace tunnel. At 3:03 p.m., Quaglin entered the

tunnel. See Ex. 46 at 3:03:30 p.m. He quickly maneuvered to the front of the mob so that he was

face to face with officers positioned at the end of the tunnel adjacent to the Capitol building. Ex.

47 at 3:03:30 p.m.; Ex. 48 at :36, 2:00-2:35. The rioters in the tunnel began to coordinate “heave

ho” collective thrusts against the police officers. Ex. 49 at 13:28; Ex. 47 at 4:34. Quaglin joined.

Police officers sprayed the mob with chemical irritants in an attempt to disperse the crowd but

Quaglin, still wearing his gas mask, remained unaffected.

       Count Twenty (Robbery: theft of Officer Nguyen’s riot shield) and related conduct:

       As Quaglin approached the police line inside the tunnel at about 3:05 p.m., his co-defendant

Robert Morss grabbed a police riot shield held by MPD Officer Phuson Nguyen. Quaglin aided

Morss by also grabbing the shield. Together, Quaglin and Morss forcefully ripped the shield from

the officer’s hands. See Ex. 48 at 2:16; Exs. 47.2, 47.3; Ex. 50 at 3:05:20 p.m.. As they did so, a

nearby rioter yelled “send the shield back, send the shield back!” Morss and Quaglin passed the

shield to rioters behind them as Officer Nguyen fell to the ground – landing in a perilous position.




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           Images 66-67: Screenshots of third-party footage showing Quaglin (yellow square)
  ripping the police shield away from Officer Nguyen, left, and the officer on the ground, right,
                 after Quaglin ripped away the police shield (Ex. 48.1; Ex. 47.4)

       After disarming Officer Nguyen of his shield, Quaglin reapproached the police line and

yelled epithets at the officers, including calling them “TRAITORS!”




  Images 68-69: Screenshots showing Quaglin (yellow rectangle) at the front of the mob in the
                                 tunnel (Ex. 50; Ex. 47.1)




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       Count Twenty-Three (spraying officers in the tunnel with chemical irritant), Count
Thirty-Five (civil disorder), Count Thirty-Nine (disorderly and disruptive conduct with a
deadly or dangerous weapon, chemical irritant), Count Forty-Seven (act of physical violence
with deadly or dangerous weapon, chemical irritant):

       As the officers physically held the line against the coordinated thrusts of the mass of rioters,

Quaglin attacked them again – this time with chemical irritant. Quaglin fired the irritant across the

entire line of officers. When Officer Omar Forrester attempted to block the spray with a police

shield, Quaglin maneuvered his arm around the shield and sprayed Officer Forrester directly in the

face, impacting his ability to see, causing him to become disoriented, and inhibiting his ability to

breathe. The spray at this time was particularly impactful because the crowd continued to

forcefully push into the police line and Officer Forrester while he was debilitated.




Image 70: Screenshot of open-source footage showing Quaglin (yellow square) spraying Officer
                         Forrester in the face with chemical irritant

       Count Twenty-Six (Assault against police line and aiding and abetting assault of
Officer Hodges), Count Thirty-Five (civil disorder), Count Thirty-Nine (disorderly and
disruptive conduct with a deadly or dangerous weapon, riot shield), Count Forty-Seven (act
of physical violence with deadly or dangerous weapon, riot shield):

       While still at the front of the mob, Quaglin stole another police shield from officers and

began shoving his entire body against the line of officers.
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   Images 71-72: Screenshots of body worn camera footage showing Quaglin (yellow square)
       holding shield and pushing against police line (Ex. 50 at 3:07:51 p.m.; Ex. 50.1)

       Rioters around him yelled, “Hold the line, Patriots!” and “SHIELD WALL!” as Quaglin

attacked. Quaglin continued pushing against the police line as another rioter approached the

officers and sprayed the officers with chemical irritant. Ex. 51.1; Ex. 49 at 20:05.




         Images 73-74: Screenshots of footage showing Quaglin pushing into police line
                                      (Ex. 52.1; Ex. 53.1)

       As Quaglin continued to push into the police line, his co-defendant Steven McCaughey

pinned MPD Officer Daniel Hodges between a metal door frame and a stolen police shield.

McCaughey and the weight of the rioters behind him bashed into Officer Hodges as another co-

defendant, Steven Cappuccio, violently attacked Officer Hodges while Cappuccio yelled, “How

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do you like me now, motherfucker?” Ex. 49.1; Ex. 53 at :45. At the same time, Quaglin continued

thrusting his body against the police officers at the front of the line, preventing the officers from

protecting themselves or assisting Officer Hodges.

       After Officer Hodges escaped, MPD Officer Michael Fanone repeatedly yelled at Quaglin

and the rioters to “BACK IT UP!” and tried to reason with the crowd, stating: “Back it up! Come

on buddy, we got injured officers.” Quaglin ignored the commands and continued thrusting against

the officers. Ex. 54 at 3:15:13 p.m.; Ex. 55 at 3:13:49; Ex. 53 at 3:20-3:30.

       At about 3:18 p.m., the officers gained momentum and successfully pushed rioters, Quaglin

included, out of the tunnel. At that time, one rioter wrapped his arm around Officer Fanone’s neck

and dragged him away from the police line and into the mob. One of the rioters shouted that the

rioters should shoot Officer Fanone using his own gun.

       Quaglin stood directly in front of Officer Fanone as he was dragged into the mob. Video

footage recovered by the government does not fully depict the interaction between Quaglin and

Officer Fanone, because other individuals obstruct the view. However, video footage shows that

as Quaglin is directly in front of Officer Fanone (actions unclear), one individual, who appeared

to be attempting to help Officer Fanone, grabbed Quaglin with two arms and threw Quaglin to the

ground, away from Officer Fanone.




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Images 75-76: Screenshots of open-source footage showing Quaglin (yellow square) in front of
Officer Fanone (red square), top, and an individual wrapping his arms around Quaglin before
    throwing Quaglin to the ground in an apparent attempt to help Officer Fanone, bottom

      Quaglin remained on Capitol grounds until after 4:00 p.m.
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               Quaglin’s Post-Riot Videos, Posted on Social Media on January 6

        After the riot, Quaglin posted a video to social media that he recorded in a Washington,

D.C. hotel. He stated, “It was wild. The president didn’t lie. It was fuckin’ wild.” Exhibit 2 at :12

- :20. “This is the first step. . . . I’m exhausted, I’ve been pepper sprayed. I’ve been pepper sprayed

like twenty fucking times. I’m sure I’m going to make the news.” Ex. 60 at 1:05-1:28.

        Later that night, Quaglin met with other rioters. Quaglin recorded and posted on social

media another video. Another individual said, “this is our city, we own this shit. Like the fucking

Capitol is ours.” Quaglin added, “we do own this shit!” Ex. 61 at :11-:17. In the video, Quaglin

walked down a line of individuals as he exclaimed, “Patriots, Patriots, Patriots. Patriots down there,

Patriots over here. . . . We’re all alive, everyone in our group survived and we are good. When you

guys see the footage, I was the guy in the red, white, and blue hoodie and the black helmet. . . . So

I’m on a loop right now. I’m absolutely on a loop on Fox News. Black helmet and red, white, and

blue. I got punched pretty good. I got - - whatever. It was what it is. It was a great time. I got bumps

and bruises. And we’re having a good time.” Ex. 61 at :20–1:40.

                               Quaglin’s Post-January 6 Statements

        Following January 6, Quaglin bragged about his participation in the riot. He told people,

for example, that “[i]t was wild,” Ex. 1 at 159, and “crazy,” id. at 162, and he bragged that he “was

in the middle of it,” and sent photographs from the West Terrace, id. at 160; id. at 159. Quaglin

also stated that he was there with people who “just wanted to make a statement that the right will

not take it.” Id. at 164. Quaglin consistently misrepresented his conduct. For example, he said,

“We only pushed our way. I know I didn’t hit any cops” and he falsely stated, “A guy died in my

arm.”


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           Even after the stipulated trial, Quaglin has publicly denounced his part in the riot and failed

to take responsibility for his actions, repeatedly claiming that January 6 prosecutions are

illegitimate and that he was coerced into taking a “plea.” For example, Quaglin has publicly stated

things like:

    -      “I just pled guilty to fourteen felonies that I didn’t commit [and] the DOJ can suck my
           [unintelligible].”

    -      The country needs to get rid of the “tyrannical government,” like the “weaponized DOJ
           and FBI” prosecuting January 6 defendants.

    -      At sentencing, he intends to “renege everything” and go to trial. And, if he is not given a
           new trial, he will go “off the hinges” at sentencing.

    -      He signed the “plea” under “duress.”

           Even as recently as January 19, 2024, Quaglin publicly spoke about the next time people

would storm the Capitol and said he would “go out with a bang here!”

    III.        THE CHARGES AND CONVICTIONS AT STIPULATED TRIAL

           On December 1, 2021, a federal grand jury returned the Fifth Superseding Indictment

charging Quaglin and his eight co-defendants with a total of fifty-three counts. Quaglin was

charged in fourteen counts:

           1.    Count One, Assaulting, Resisting or Impeding Certain Officers, Aiding and
                 Abetting, 18 U.S.C. §§ 111(a)(1), 2;

           2.    Count Two, Assaulting, Resisting or Impeding Certain Officers Using a Dangerous
                 Weapon, 18 U.S.C. §§ 111(a)(1) and (b);

           3.    Count Three, Assaulting, Resisting or Impeding Certain Officers, Aiding and
                 Abetting, 18 U.S.C. §§ 111(a)(1), 2;

           4.    Count Four, Robbery, Aiding and Abetting, 18 U.S.C. §§ 2111, 2;




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          5.     Count Eleven, Assaulting, Resisting or Impeding Certain Officers, Aiding and
                 Abetting, 18 U.S.C. §§ 111(a)(1), 2;

          6.     Count Twenty, Robbery, Aiding and Abetting, 18 U.S.C. §§ 2111, 2;

          7.     Count Twenty-Three, Assaulting, Resisting or Impeding Certain Officers Using a
                 Dangerous Weapon, 18 U.S.C. §§ 111(a)(1) and (b);

          8.     Count Twenty-Six, Assaulting, Resisting or Impeding Certain Officers Using a
                 Dangerous Weapon, 18 U.S.C. §§ 111(a)(1) and (b);

          9.     Count Thirty-Four, Obstruction of an Official Proceeding, Aiding and Abetting, 18
                 U.S.C. §§ 1512(c)(2), 2;

          10.    Count Thirty-Five, Interfering with Law Enforcement Officers During a Civil
                 Disorder, Aiding and Abetting 18 U.S.C. §§ 231(a)(3), 2;

          11.    Count Thirty-Nine, Disorderly or Disruptive Conduct in a Restricted Building or
                 Grounds with a Dangerous Weapon, 18 U.S.C. § 1752(a)(2) and (b)(1)(A);

          12.    Count Forty-Seven, Engaging in Physical Violence in a Restricted Building or
                 Grounds with a Dangerous Weapon, 18 U.S.C. § 1752(a)(4) and (b)(1)(A);

          13.    Count Fifty-Two, Disorderly Conduct in a Capitol Building, 40 U.S.C.
                 § 5104(e)(2)(D); and

          14.    Count Fifty-Three, Act of Physical Violence in a Capitol Building or Grounds, 40
                 U.S.C. § 5104(e)(2)(F).

           On July 20, 2023, this Court convicted Quaglin of each of these offenses following a

stipulated trial with agreed-upon facts.

    IV.         STATUTORY PENALTIES

          Quaglin now faces sentencing on all fourteen counts. The Presentence Report issued by the

U.S. Probation Office accurately identifies the statutory maximum sentences for each of the counts

of conviction. PSR ¶¶ 184-53. 6



6
  Citations to the PSR refer to the Draft PSR. At the time of this filing, the Final PSR had not yet
been released. The government will update its sentencing memorandum with citations to the
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      V.        THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

           As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007).

           A.     Guidelines Analysis

           The government submits the following Guidelines analysis applies to Quaglin’s conduct

and convictions:

           Count One: 18 U.S.C. § 111(a)(1)
                 U.S.S.G. § 2A2.2(a) 7                 Base Offense Level                   14
                 U.S.S.G. § 3A1.2(b)                   Official Victim                      +6
                                                                              Total         20

           Count Two: 18 U.S.C. § 111(a)(1) and (b)
                  U.S.S.G. § 2A2.2(a) 8                Base Offense Level                   14
                 U.S.S.G. § 2A2.2(b)(3)(B)             Serious Bodily Injury 9
                                              +5
                 U.S.S.G. § 2A2.2(b)(7)                Conviction under § 111(b)            +2
                 U.S.S.G. § 3A1.2(b)                   Official Victim                      +6
                                                                            Total           27

           Count Three: 18 U.S.C. § 111(a)(1)
                 U.S.S.G. § 2A2.2(a) 10                        Base Offense Level

Final PSR.
7
  By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
8
  By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
9
     The Serious Bodily Injury here refers to the injuries suffered by Sergeant Robinson.
10
   By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
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                                                14
                 U.S.S.G. § 3A1.2(b)                   Official Victim                    +6
                                                                              Total       20

         Count Four: 18 U.S.C. § 2111
                U.S.S.G. § 2B3.1(a)                    Base Offense Level                 20
                U.S.S.G. § 3A1.2(b)                    Official Victim                    +6
                                                                              Total       26

         Count Eleven: 18 U.S.C. § 111(a)(1)
                U.S.S.G. § 2A2.2(a) 11                 Base Offense Level                 14
               U.S.S.G. § 3A1.2(b)                     Official Victim                    +6
                                                                              Total       20

         Count Twenty: 18 U.S.C. § 2111
                U.S.S.G. § 2B3.1(a)                    Base Offense Level                 20
                U.S.S.G. § 3A1.2(b)                    Official Victim                    +6
                                                                              Total       26

         Count Twenty-Three: 18 U.S.C. § 111(a)(1) and (b)
               U.S.S.G. § 2A2.2(a) 12              Base Offense Level                     14
               U.S.S.G. § 2A2.2(b)(2)              Dangerous Weapon                       +4
               U.S.S.G. § 2A2.2(b)(3)(B)           Serious Bodily Injury 13               +5
               U.S.S.G. § 2A2.2(b)(7)              Conviction under § 111(b)              +2
               U.S.S.G. § 3A1.2(b)                 Official Victim                        +6
                                                                          Total           31

         Count Twenty-Six: 18 U.S.C. § 111(a)(1) and (b)
                U.S.S.G. § 2A2.2(a) 14             Base Offense Level                     14
               U.S.S.G. § 2A2.2(b)(2)              Dangerous Weapon                       +4
               U.S.S.G. § 2A2.2(b)(7)              Conviction under § 111(b)              +2

11
   By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
12
   By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
13
     The Serious Bodily Injury here refers to the injury suffered by Officer Forrester.
14
   By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
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               U.S.S.G. § 3A1.2(b)                  Official Victim                       +6
                                                                            Total         26

       Count Thirty-Four: 18 U.S.C. § 1512(c)
             U.S.S.G. § 2J1.2(a)                    Base Offense Level                    14
             U.S.S.G. § 3A1.2 (c)                   Official Victim                       +6
                                                                            Total         20

       Count Thirty-Five: 18 U.S.C. § 231(a)(3)
             U.S.S.G. § 2A2.2(a) 15                 Base Offense Level                    14
             U.S.S.G. § 2A2.2(b)(2)                 Dangerous Weapon                      +4
             U.S.S.G. § 2A2.2(b)(3)(D)              Serious Bodily Injury                 +5
             U.S.S.G. § 3A1.2(a), (b)               Official Victim                       +6
                                                                            Total         29

       Count Thirty-Nine: 18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
              U.S.S.G. § 2A2.2(a) 16              Base Offense Level                      14
             U.S.S.G. § 2A2.2(b)(2)               Dangerous Weapon                        +4
             U.S.S.G. § 2A2.2(b)(3)(D)            Serious Bodily Injury                   +5
                                                                            Total         23

       Count Forty-Seven: 18 U.S.C. §§ 1752(a)(4) and (b)(1)(A)
              U.S.S.G. § 2A2.2(a) 17             Base Offense Level                       14
              U.S.S.G. § 2A2.2(b)(2)             Dangerous Weapon                         +4
              U.S.S.G. § 3A1.2(a), (b)           Official Victim                          +6
                                                                            Total         24

       Counts Fifty-Two and Fifty-Three are Class B misdemeanors. As such, the U.S. Sentencing

Guidelines do not apply to these counts of conviction.




15
   By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
16
   By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
17
   By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
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       B.      Grouping Analysis

       The offenses charged in Counts 34 and 39 constitute a single group because the victim is

the U.S. Congress. See U.S.S.G. § 3D1.2(a) and (b).

       Counts 1, 2, 3, 11, 23, and 26, all charging assault, each involve separate victims and

therefore are not grouped under U.S.S.G. § 3D1.2(a) and (b).

       The assaults with dangerous weapons in Counts 23 and 26 “embod[y] conduct that is

treated as a specific offense characteristic in, or other adjustment to, the guideline applicable to”

the Count 47 offense of violating 18 U.S.C. § 1752(a)(4), specifically, the +4 enhancement for a

dangerous weapon, pursuant to U.S.S.G. § 2A2.2(b)(2). However, as noted, when there are

“several counts, each of which could be treated as an aggravating factor to another more serious

count,” “the guideline for the more serious count provides an adjustment for only one occurrence

of that factor,” and “[i]n such cases, only the count representing the most serious of those factors

is to be grouped with the other count.” U.S.S.G. § 3D1.2, cmt. n.5. Here, the assault count with

the highest offense level is Count 23. Hence, Count 23 also groups with Count 47. Under note 5,

the other assault count – Count 26 – would comprise a separate group.

       The assaults with dangerous weapons in Counts 23 and 26 also “embod[y] conduct that is

treated as a specific offense characteristic in, or other adjustment to, the guideline applicable to”

the Count 35 offense of violating 18 U.S.C. § 231(a)(3), specifically, the +4 enhancement for a

dangerous weapon, pursuant to U.S.S.G. § 2A2.2(b)(2). However, as noted, when there are

“several counts, each of which could be treated as an aggravating factor to another more serious

count,” “the guideline for the more serious count provides an adjustment for only one occurrence

of that factor,” and “[i]n such cases, only the count representing the most serious of those factors


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is to be grouped with the other count.” U.S.S.G. § 3D1.2, cmt. n.5. Here, the assault count with

the highest offense level is Count 23. Hence, Count 23 also groups with Count 35. Under note 5,

the other assault count – Count 26 – would comprise a separate group.

         The robbery convictions – Counts 4 and 20 – involve different victims from Counts 1, 2,

3, 11, 23, 26, 34, 35, 39, and 47, and from each other, and thus constitute separate groups. U.S.S.G.

§ 3D1.2(a).

         Therefore, counts are grouped in the following manner:

Group One
Count 23 – 18 U.S.C. § 111(a)(1) and (b)               (Officer O.F.)             (OL: 31)
Count 35 – 18 U.S.C. § 231(a)(1)                       (Officers)                 (OL:29)
Count 47 – 18 U.S.C. § 1752(a)(4), (b)(1)(A)           (Officer O.F.; Line of MPD
                                                       Officers)                  (OL: 24)
Group Two
Count 1 – 18 U.S.C. § 111(a)(1)                        (Officers on West Front)      (OL:20)

Group Three
Count 3 – 18 U.S.C. § 111(a)(1)                        (Deputy Chief E.W.)           (OL: 20)

Group Four
Count 11 – 18 U.S.C. § 111(a)(1)                       (Officer H.R, Sergeant J.M., (OL: 20)
                                                       MPD Officer)
Group Five
Count 2 – 18 U.S.C. § 111(a)(1) and (b)                (Officer T.R.)                (OL: 27)

Group Six
Count 26 – 18 U.S.C. § 111(a)(1) and (b)               (Line of MPD Officers)        (OL: 26)

Group Seven
Count 4 – 18 U.S.C. § 2111                             (Officer L.L.)                (OL: 23)

Group Eight
Count 20 – 18 U.S.C. § 2111                            (Detective P.N.)              (OL: 26)

Group Nine
Count 34 – 18 U.S.C. § 1512(c)(2) 18                   (Congress)                    (OL: 20)


18
     In light of the United States Court of Appeals for the District of Columbia Circuit’s opinion in
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Count 39 – 18 U.S.C. § 1752(a)(2), (b)(1)(A)          (Congress)                     (OL: 23)

       C.      Multiple Count Adjustment

       Units are assigned pursuant to U.S.S.G. § 3D1.4(a), (b) and (c). One unit is assigned to the

group with the highest offense level. One additional unit is assigned for each group that is equally

as serious or from 1 to 4 levels less serious. One-half unit is assigned to any group that is 5 to 8

levels less serious than the highest offense level. Any groups that are 9 or more levels less serious

than the group with the highest offense level are disregarded.

       Count                   Adjusted Offense Level                     Units
       Group 1                       31                              1
       Group 2                       20                              0
       Group 3                       20                              0
       Group 4                       20                              0
       Group 5                       27                              1
       Group 6                       26                              ½
       Group 7                       23                              ½
       Group 8                       26                              ½
       Group 9                       23                              ½

       Total Number of Units:                                        4

       Greater of the Adjusted Offense Levels Above:                 31

       Increase in Offense Level: the offense level is
       increased pursuant to the number of units
       assigned by the amount indicated in the
       table at U.S.S.G. § 3D1.4:                                    +4 levels

       Combined Adjusted Offense Level:                              35



United States v. Brock, No. 23-3045 (March 1, 2024), which held that “for purposes of Sentencing
Guideline 2J1.2, the phrase ‘administration of justice’ does not encompass Congress’s role in the
electoral certification process,” id. at 20, the government does not include the three-level
enhancement under U.S.S.G. § 2J1.2(b)(2) for “substantial interference with the administration of
justice” or the eight-point corollary under §2J1.2(b)(1)(B), in its calculation of the Sentencing
Guidelines.

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       D.      Acceptance of Responsibility

       The Government agrees with the PSR that a 2-level reduction for acceptance of

responsibility is not appropriate, pursuant to U.S.S.G. § 3E1.1(a). PSR ¶ 56. The defendant has not

clearly demonstrated acceptance of responsibility for his offenses. Rather, as explained above, the

defendant has repeatedly and publicly disavowed responsibility, stating things like: “I just pled

guilty to fourteen felonies that I didn’t commit [and] the DOJ can suck my [unintelligible].”

       Moreover, an additional 1-level reduction is not appropriate under § 3E1.1(b). Section

3E1.1(b) is appropriate when the “defendant has assisted authorities in the investigation or

prosecution of his own misconduct by timely notifying authorities of his intention to enter a plea

of guilty, thereby permitting the government to avoid preparing for trial and permitting the

government and the court to allocate their resources efficiently.” Here, Quaglin did not timely

notify the government of his intention to sign a statement of facts in a stipulated trial, nor did he

permit the government to avoid preparing for trial. To the contrary, the government had fully

prepared and arrived at the courtroom ready to proceed to trial before Quaglin announced his intent

to sign a stipulated statement of facts. The government had already gathered hundreds of exhibits

for trial against Quaglin, interviewed dozens of witnesses, prepared more than a dozen witnesses,

prepared opening and closing remarks, completed pretrial briefings, and completed every other

aspect of trial as it relates to Quaglin’s case. See § 3E1.1 n.6 (“The timeliness of the defendant’s

acceptance of responsibility is a consideration under both subsections, and is context specific. . . .

To qualify under subsection (b), the defendant must have notified authorities of his intention to

enter a plea of guilty at a sufficiently early point in the process so that the government may avoid

preparing for trial and the court may schedule its calendar efficiently.”).

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       Nor did Quaglin’s very delayed agreement to proceed by way of a stipulated trial permit

the government to allocate its resources efficiently. Again, to the contrary, on the morning of trial

when Quaglin was found guilty at the stipulated trial, the government had several witnesses

waiting at the Courthouse and prepared to testify against Quaglin. Quaglin’s last-minute agreement

to stipulate to facts required the government to re-allocate resources towards last-minute logistical

and strategic rearrangements of the trial (including re-arranging witnesses, exhibits, changing

travel plans, and otherwise adjusting trial strategy and presentation), ultimately causing the

government to expend more resources during the remainder of the trial of Quaglin’s co-defendants.

Accordingly, this is a paradigmatic case where a reduction under § 3E1.1(b) is wholly

unwarranted.

       E.       U.S.S.G. § 4C1.1

       Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. There can be no question

that § 4C1.1 does not apply in this case. Among almost unrelenting acts of violence against police

for several hours, Quaglin committed six assaults of officers, three of which were committed with

a deadly or dangerous weapon.

       F.       Total

       The U.S. Probation Office calculated Quaglin’s criminal history as category I, which is not

disputed. PSR ¶ 150. Accordingly, based on the government’s calculation of Quaglin’s total

adjusted offense level at 35, Quaglin’s Guidelines imprisonment range is 168 to 210 months’

imprisonment.


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    VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

          In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

          A.     Nature and Circumstances of the Offense

          As shown in Section II(B) of this memorandum, Quaglin’s felonious conduct on January

6, 2021 was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the United

States into a Constitutional crisis.

          Quaglin, with full knowledge of the Congressional proceeding inside the Capitol and with

intent to stop it, waged a relentless siege on police officers for several hours as he tried to gain

access to the U.S. Capitol building to stop the certification of the electoral college vote. For weeks

before traveling to Washington, D.C., Quaglin spoke of the weapons that he intended to bring and

repeatedly stated his belief that the country was heading into “WAR!” Quaglin announced his

intent to participate in the “war” and keep the former president in power at all costs. Quaglin

followed through with his plans. Quaglin was not only convicted of six separate physical assaults

against officers (including two committed with a deadly or dangerous weapon and one that resulted

in serious bodily injury), but he also physically struck or pushed another dozen officers during his

tirade on the West Front. While on the West Front, Quaglin also tore down permanent metal

fencing to aid the mob. And shortly after the mob flooded the West Front, Quaglin brazenly

stepped forward and was one of the first rioters to physically attack the police line—and he did so

repeatedly. Quaglin berated officers, yelling menacing comments to accompany his physical


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attacks. Even after the police line broke and officers retreated from the mob, Quaglin followed

closely behind, ensuring that the attack against the officers continued. And he used weapons

against the officers, including stolen police shields, metal bike racks, and chemical irritant. Quaglin

was part of some of the most gruesome attacks in the tunnel as he worked with other rioters to

ensure that officers were under constant attack. The protracted, violent nature and circumstances

of Quaglin’s behavior are of the utmost seriousness and fully support the government’s

recommended sentence of 168 months of incarceration.

       B.      Quaglin’s History and Characteristics

       Quaglin is a 38-year-old electrician from New Jersey. PSR ¶ 172. He was raised in a stable

middle class family and has suffered no major physical or psychological trauma that would have

contributed to his spasm of violence on January 6. PSR ¶¶ 157-59. He was earning $40 an hour as

a foreman when he committed the instant crimes. PSR ¶ 174.

       Quaglin is married and has one child, and his wife is employed as a nurse. The presentence

report does not state that his wife, who is contemplating seeking a divorce from Quaglin because

of the instant crimes, PSR ¶ 160, has been unable to support herself or her son while Quaglin has

been incarcerated in this case. Quaglin has some criminal history charges, including use or

possession with intent to use drugs and simple assault, PSR ¶ 152-153, and he was convicted of

driving under the influence, PSR ¶ 149.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       As with the nature and circumstances of the offense, this factor supports a lengthy sentence

of incarceration. Quaglin’s criminal conduct on January 6 was the epitome of disrespect for the



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law.

         D.      The Need for the Sentence to Afford Adequate Deterrence

                                        General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 19 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                        Specific Deterrence

         The need for the sentence to provide specific deterrence for Quaglin weighs heavily in

favor of a lengthy term of incarceration. Quaglin has not expressed one iota of remorse or

contrition for his crimes. His social media statements after January 6 were those of a man girding

for another battle. And his frequent statements on various shows and podcasts since he has been

charged and detained have consistently denied his conduct on January 6, blamed others – including

police officers – and characterized himself as a political prisoner. Quaglin has shown no

appreciation of the gravity of his conduct, the impact that his conduct had on the more than dozen

police officers that he assaulted, and the devastation that our country has suffered because of

actions like his own. Moreover, Quaglin has also repeatedly slandered the officers who protected

the Capitol on January 6 and criticized the prosecutions of January 6 defendants as purely

“political.”

         Through its sentence, the Court must send an unambiguous message to Quaglin that his


19
     See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).
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attempts to justify his crimes constitute a substantial aggravating factor that supports a lengthy

prison sentence.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider . . . the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007). In short, “the Sentencing Guidelines are themselves an anti-


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disparity formula.” United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017); accord United

States v. Sanchez, 989 F.3d 523, 540 (7th Cir. 2021). Consequently, a sentence within the

Guidelines range will ordinarily not result in an unwarranted disparity. See United States v. Daniel

Leyden, 21-cr-314 (TNM), Sent. Hrg. Tr. at 38 (“I think the government rightly points out

generally the best way to avoid unwarranted sentencing disparities is to follow the guidelines.”)

(statement of Judge McFadden); United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Hrg. Tr.

at 49 (“[A]s far as disparity goes, . . . I am being asked to give a sentence well within the guideline

range, and I intend to give a sentence within the guideline range.”) (statement of Judge Chutkan).

       Moreover, Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to

impose a sentence sufficient, but not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). The goal of minimizing unwarranted sentencing disparities in

Section 3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the

degree of weight is “firmly committed to the discretion of the sentencing judge.” United States v.

Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors

means that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision




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leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013). 20

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). 21

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the sentences in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       Quaglin was one of nine individuals charged in this case, each of whom committed crimes

during the same approximate time in the Lower West Terrace tunnel. To aid the Court in

sentencing Quaglin, and to address this § 3553(a) factor, the government provides the following

table summarizing the sentences entered for each of Quaglin’s co-defendants:




20
   If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).
21
   A routinely updated table providing additional information about the sentences imposed on
other Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-
cases. To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.
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    Defendant             Gov.               Gov.                 Court             Sentence
                       Guidelines       Recommendation         Guidelines
                       Calculation                             Calculation
 Robert Morss        97-121 months         109 months         57-71 months          66 months
 David Lee Judd      87-108 months          90 months         37-46 months          32 months
 Geoffrey Sills      97-121 months         108 months         57-71 months          52 months
 David Mehaffie       57-71 months          64 months          6-12 months          14 months
 Tristan Stevens      70-87 months          78 months         41-51 months          60 months
 Patrick            151-188 months         188 months        151-188 months         90 months
 McCaughey
 Federico Klein     108-135 months         120 months          51-63 months         70 months
 Steven              97-121 months         121 months         97-121 months         85 months
 Cappuccio

       Quaglin has been convicted of more and more serious assaults than any of his co-

defendants (and he physically attacked far more officers than those charged assaults). Compared

to his co-defendants, Quaglin participated in the fight against officers on Capitol grounds and in

the tunnel collectively for the longest period. Quaglin’s actions were taken with the clear purpose

of stopping Congress from certifying the election results. Thus, a comparison with his co-

defendants supports sentencing Quaglin to a longer sentence than his co-defendants.

       No other January 6 defendant has been convicted of more assaults than Quaglin, so most

other cases cannot compare to the sheer volume of violence Quaglin committed that day. Perhaps

the closest comparator is Quaglin’s co-defendant, Federico Klein, who was convicted of the same

number of assaults – six – against police officers. However, even though this Court acknowledged

at Klein’s sentencing hearing that the Court had not seen a case where someone assaulted so many

officers in so short of time, Quaglin’s assaults are more aggravating and numerous than Klein’s.

First, whereas Klein was convicted of six assaults under 18 U.S.C. § 111(a)(1), Quaglin was

convicted of six assaults but three were convictions under 18 U.S.C. § 111(b) for using a deadly

or dangerous weapon and causing serious bodily injury. Quaglin’s use of chemical irritant at a


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point-blank range in the tunnel and his choke-out of Officer Robinson who suffered serious bodily

injury were far more violent than Klein’s assaults.

       Second, while Klein and Quaglin were each convicted of 18 U.S.C. § 1512(c)(2), and there

was comparable evidence for both defendants regarding their intent and purpose in attempting to

stop the certification, Quaglin was also convicted of two counts of robbery under 18 U.S.C. § 2111,

whereas Klein was not. In both instances, Quaglin forcibly ripped critical defensive tools from

police officer hands. In the first instance, Quaglin aided in ripping away a bike rack barrier,

creating a vulnerability in the police line, which collapsed shortly after. In the second instance,

Quaglin violently ripped a shield from an officer’s hand, causing the officer to fall on the ground

in the tunnel. The stolen shield would have undoubtedly aided the officer in defending himself

against the rioters’ attacks in the tunnel for hours to come.

       Third, the aggravating nature of Quaglin’s relevant conduct on the West Front far exceeded

Klein’s conduct. While Klein participated in one assault on the lower West Front against Officer

Harvey, Quaglin wreaked havoc for more than an hour on the West Front, assaulting at least a

dozen officers as he made his way down the police line, ripping down permanent metal fences,

and fighting to gain control of the metal bike racks.

       And finally, Quaglin’s social media postings demonstrate significant planning and

preparation for January 6, including to bring weapons and to “storm” the Capitol. Even after

January 6, Quaglin continued to make statements in support of the riot and disclaim any

responsibility. Klein, on the other hand, did not speak publicly about his conduct or otherwise brag

about his participation.




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       Therefore, although Klein’s conduct and charges are comparable to Quaglin’s, the

aggravating factors in Quaglin’s case dictate that a substantially longer sentence is warranted.

       Quaglin’s conduct was also more aggravating than his co-defendant Patrick McCaughey.

As the Court knows, McCaughey was convicted following a bench trial of two counts of assault,

including one count involving a deadly or dangerous weapon for his assault using a stolen police

shield against Officer Hodges in the tunnel. Quaglin’s conduct spanned for longer than

McCaughey’s conduct and, while McCaughey’s assault against Officer Hodges was particularly

heinous, Quaglin was convicted of three counts of 18 U.S.C. § 111(b), one of which led to serious

bodily injury. Furthermore, Quaglin aided McCaughey’s assault, as he was at the front of the mob

pushing into the officers at the same time as McCaughey’s assault against Officer Hodges.

Moreover, Quaglin used deadly or dangerous weapons against officers during two other of his

assaults, including chemical irritant spray, which he sprayed directly in the faces of police officers,

and a shield, which he pushed into the police line as other rioters assaulted officers (including

McCaughey). Additionally, while McCaughey’s time in the tunnel was particularly violent,

Quaglin committed several assaults in the tunnel but also spent an hour-and-a-half harassing and

physically assaulting more than a dozen officers on the West Front, whereas McCaughey’s conduct

was limited to his time in the tunnel. Additionally, while both defendants were convicted of

obstruction of an official proceeding, Quaglin’s intent to obstruct Congress was far more

pronounced than McCaughey’s. Quaglin planned specifically to “storm” the Capitol, he planned

for violence, he brought weapons and gear, and he anticipated “WAR” following the

announcement of the results of the presidential election. As explained above, Quaglin spent months

prior to January 6 preparing supplies such as bear spray, body armor, full face shields, a hard-sided


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helmet, and weapons, and encouraging others to come so that the “militia” could storm the Capitol.

Unlike Quaglin, McCaughey did not plan extensively, nor did he carry weapons to the Capitol.

Finally, as explained above, Quaglin continued to disclaim responsibility for his conduct following

January 6, whereas McCaughey did not make comparable statements. Thus, a substantially longer

sentence is warranted for Quaglin.

       Finally, in United States v. Webster, 21-cr-208 (APM), the court sentenced defendant

Webster to 120 months of incarceration following a trial. On January 6, Webster came to

Washington, D.C. wearing a bulletproof vest and carrying a firearm on his body and a flagpole in

his hand. Once on Capitol grounds, Webster spent eight minutes elbowing his way to the front of

the crowd. At the front, Webster approach a police officer, pointed at him, and yelled demeaning

remarks. Webster put his hand on the bike rack in front of him and forcefully pushed against the

bike rack twice. Webster then used his flagpole to bash it against the bike rack nearby the officer

line; Webster swung the flagpole with such force that it broke the metal pole in half. When the

police line started to retreat, Webster charged forward and tackled an officer to the ground and

attempted to rip off the officer’s gas mask. The officer started to choke by the chinstrap of his

helmet. This officer sustained several injuries as a result of Webster’s attack. Webster made his

way to the Lower West Terrace where he witnessed rioters drag Officer Fanone out of the tunnel.

       Some of Quaglin’s conduct was comparable to Webster’s conduct, but Quaglin’s overall

participation in the riot was more aggravating. Both defendants charged forward and singularly

attacked a police officer – Webster by tackling an officer and attempting to rip off his gas mask

and Quaglin by grabbing Sergeant Robinson by the neck and choking him to the ground. Quaglin’s

attack led to more long-term injuries than the attack by Webster. Both defendants also put their


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hands on bike racks and pushed them against police officers, yelled and berated officers, and

otherwise provoked violence. Quaglin provoked violence on many more occasions during his

hour-and-a-half at the front of the mob on the West Front, compared to the relatively short time

that Webster confronted officers. And, although Webster brought a firearm to the Capitol which

in and of itself warranted a significant sentence, Quaglin came to the Capitol armed and prepared,

with chemical irritant, a hard-sided helmet, a full-face gas mask, and a backpack. And both

defendants failed to express regret or remorse for their conduct following January 6. However,

Quaglin committed far more overall aggravating conduct than Webster, including that he

(1) attacked more than a dozen officers more than Webster; (2) stole a metal bike rack and stole a

police shield after forcibly ripping these items from police officers (in fact, he also stole and passed

back a second police shield on the West Front); (3) entered the tunnel and joined the collective

mob assault during some of the most violent attacks in the tunnel; (4) used deadly or dangerous

weapons against police officers on two occasions, including spraying officers directly in the faces

and using a stolen police shield against the police officers while other rioters sprayed those officers

with chemical irritants; (5) planned extensively for January 6, encouraging others to come and

preparing for “war”; and (6) participated in some manner in the attack against Officer Fanone, both

as a participant in the tunnel as Officer Fanone was being dragged out and immediately after

Officer Fanone had been pulled into the crowd. Therefore, a longer sentence is warranted for

Quaglin.

    VII.    RESTITUTION

        Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to


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order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). First, the Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291

§ 3579, 96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with

discretionary authority to order restitution to victims of most federal crimes.” Papagno, 639 F.3d

at 1096; see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to restitution under the VWPA).

Second, the Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110

Stat. 1214 (codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases

involving a subset of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The

MVRA applies to certain offenses including those “in which an identifiable victim or victims has

suffered a physical injury or pecuniary loss,” 18 U.S.C. § 3663A(c)(1)(B), a “crime of violence,”

§ 3663A(c)(1)(A)(i), or “an offense against property . . . including any offense committed by fraud

or deceit,” § 3663A(c)(1)(A)(ii). See Fair, 699 F.3d at 512 (citation omitted). But Quaglin was

convicted of a violation of an offense under Title 18, the VWPA does apply.

       The applicable procedures for restitution orders issued and enforced under these two

statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing that sentencing court “shall”

impose restitution under the MVRA, “may” impose restitution under the VWPA, and “shall” use

the procedures set out in Section 3664).

       Both [t]he VWPA and MVRA require identification of a victim, defined in both statutes as

“a person directly and proximately harmed as a result of” the offense of conviction. Hughey v.

United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify similar

covered costs, including lost property and certain expenses of recovering from bodily injury. See


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Papagno, 639 F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under both the statutes,

the government bears the burden by a preponderance of the evidence to establish the amount of

loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019).

        In deciding whether to impose restitution under the VWPA, the sentencing court must take

account of the victim’s losses, the defendant’s financial resources, and “such other factors as the

court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)

(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). The MVRA, by contrast, requires imposition of full

restitution without respect to a defendant’s ability to pay. 22

        Because Quaglin in this case engaged in criminal conduct in tandem with hundreds of other

defendants charged in other January 6 cases, and his criminal conduct was a “proximate cause” of

the victims’ losses if not a “cause in fact,” the Court has discretion to apportion restitution and

hold Quaglin responsible for his individual contribution to the victims’ total losses. See Paroline

v. United States, 572 U.S. 434, 458 (2014) (holding that in aggregate causation cases, the

sentencing court “should order restitution in an amount that comports with the defendant’s relative

role in the causal process that underlies the victim’s general losses”). See also United States v.

Monzel, 930 F.3d 470, 476-77, 485 (D.C. Cir. 2019) (affirming $7,500 in restitution toward more

than a $3 million total loss, against a defendant who possessed a single pornographic image of the

child victim; the restitution amount was reasonable even though the “government was unable to

offer anything more than ‘speculation’ as to [the defendant’s] individual causal contribution to [the

victim’s] harm”; the sentencing court was not required to “show[] every step of its homework,” or


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   Both statutes permit the sentencing court to decline to impose restitution where doing so will
 “complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
 3663A(c)(3)(B).
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generate a “formulaic computation,” but simply make a “reasoned judgment.”).

       More specifically, the Court should require Quaglin to pay $2,000 in restitution for his

convictions on Counts 1, 2, 3, 4, 11, 20, 23, 26, 34, 35, 39, 47, 52, and 53. This amount fairly

reflects Quaglin’s role in the offense and the damages resulting from his conduct. Moreover, in

cases where the parties have entered into a guilty plea agreement, two thousand dollars has

consistently been the agreed upon amount of restitution and the amount of restitution imposed by

judges of this Court where the defendant was not directly and personally involved in damaging

property. Accordingly, such a restitution order avoids sentencing disparity.

   VIII. FINE

       Quaglin’s convictions under Sections 111, 1512, 231, 2111, and 1752 subject him to a

statutory maximum fine of $250,000. PSR ¶ 219. See 18 U.S.C. § 3571(b)(3). In determining

whether to impose a fine, the sentencing court should consider the defendant’s income, earning

capacity, and financial resources. See 18 U.S.C. § 3572(a)(1); U.S.S.G. § 5E1.2(d). In assessing a

defendant’s income and earning capacity, a sentencing court properly considers whether a

defendant can or has sought to “capitalize” on a crime that “intrigue[s]” the “American public.”

United States v. Seale, 20 F.3d 1279, 1284-86 (3d Cir. 1994).

       A fine is appropriate in this case. As the revised PSR notes, Quaglin has raised over

$82,000 in an online campaign styled as a “Justice for Chis Quaglin.” PSR ¶ 182. Quaglin

“advertises” his fundraising page publicly when discussing his case and as he asks the public to

donate to his cause, which includes denouncing responsibility for his crimes and placing blame on

others, including law enforcement. Quaglin should not be able to “capitalize” on his participation

in the Capitol breach in this way.

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   IX.      CONCLUSION

         For the reasons set forth above, the government recommends that the Court impose a

sentence of 168 months of incarceration, three years of supervised release, $2,000 in restitution, a

fine in the amount $82,000, and a $1,220 special assessment.

                                              Respectfully submitted,

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